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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                      :
UNITED STATES OF AMERICA
                                      :

     v.                               :   Criminal No. DKC-10-0102-002

                                      :
HARRY JAMES WILLIAMS
                                      :

                             MEMORANDUM OPINION

     Defendant Harry Williams filed a motion for reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2).                     The government

filed a response in opposition (ECF No. 222) and Mr. Williams

filed a reply (ECF No. 223).          For the reasons that follow, Mr.

Williams   is   not   entitled   to   relief,    and   the       motion   will   be

denied.1

     On August 11, 2010, a jury found Mr. Williams guilty of

conspiring to defraud the United States and eight counts of

submitting false claims.         On November 15, 2010, Defendant was

sentenced to seventy-two months imprisonment.                The sentence was

not appealed.

     Mr. Williams requests the court re-sentence him taking into

consideration his military service because “Our Nation has a

long tradition of according leniency to veterans in recognition

of their service, especially for those who fought on the front


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       Defendant has also filed two motions to expedite a ruling
on his motion. (ECF Nos. 225 and 228). These motions will be
denied as moot.
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lines . . .”       He also mentions charitable public services he’s

provided     and   advises     that   he’s       received     no     disciplinary

infractions while incarcerated.            The Defendant argues that the

“United States Sentencing Commission Departure Guidelines were

not     incorporated   nor     considered.”         However,       Mr.    Williams

recognizes that “Pre-Sentencing acknowledged Petitioner’s prior

military service” evidencing that the court was aware of Mr.

Williams’ prior military service at sentencing.                   (ECF No. 221 at

¶ 6).

        As noted above, Mr. Williams was sentenced on November 15,

2010.     The Presentence Report had been prepared earlier, and was

based on the Guidelines Manual effective November 1, 2009.                        The

court,     nevertheless,     was   instructed      by    1B1.11      to   use     the

Guidelines    Manual   in    effect   on   the    date   of   sentencing.         The

Guidelines Manual effective November 2, 2010 included in 5H1.11

new language that:


            Military    service   may   be   relevant   in
            determining     whether   a    departure    is
            warranted,     if   the   military    service,
            individually or in combination with other
            offender characteristics, is present to an
            unusual degree and distinguishes the case
            from the typical cases covered by the
            guidelines.




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      Under 18 U.S.C. § 3582(c)(2), a court may not modify a term

of imprisonment once it has been imposed unless the sentencing

range is subsequently lowered by the Sentencing Commission.                     As

noted by the Government, that simply has not happened. First,

Mr.   Williams   was    sentenced    after    the   effective      date   of    the

amendment.     Second, the amendment did not reduce the sentencing

range,   but   rather    expressed    a   policy     change      concerning     one

aspect of a defendant’s background.                 Finally, the Sentencing

Commission did not include this amendment in the list of those

to be applied retroactively in 1B1.10.

      The motion will be denied by separate order.



                                                    /s/
                                          DEBORAH K. CHASANOW
                                          United States District Judge




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